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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF VIRGINIA
                            ROANOKE DIVISION


                                                          Action No: 7:20CV342
 Daniel Notestein, et al                                  Date: 5/24/2021
 vs.                                                      Judge: Elizabeth K. Dillon
                                                          Court Reporter: L. Blair
 Bittrex, Inc., et al
                                                          Deputy Clerk: B. Davis



 Plaintiff Attorneys                              Defendant Attorneys
 Michelle Derrico                                 Claire Martirosian
                                                  Gregory Hollon
                                                  John Rottenborn
                                                  Michael Finney
                                                  Jennifer Bretan

PROCEEDINGS:
Hearing held on Defendant’s [60] Motion for Interpleader Deposit. Argument from Counsel on
Defendant’s [60] Motion for Interpleader Deposit.

The Court notes Plaintiffs’ [25] Motion to Dismiss for Failure to State a Claim is dismissed as
moot.

The Court takes Defendant’s [60] Motion for Interpleader Deposit under advisement.

Written Order forthcoming.



Time in Court: 3:00pm – 4:06pm (1 hour 6 min)
